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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION


 TIMOTHY JACKSON,
      Plaintiff,
                                                          C.A. No. 4:21-mc-00132
 v.
                                                             Underlying Case
 LAURA WRIGHT, ET AL.,                                    C.A. No. 4:21-cv-00033
      Defendants.


                                 MOTION FOR SUBSTITUTION

       Non-party movants Benjamin Brand, Jennifer Cowley, Jincheng Du, Francisco Guzman,

John Ishiyama, Matthew Lemberger-Truelove, and Jennifer Wallach (collectively “Movants”) file

this Motion for Substitution of Counsel, requesting that the following Assistant Attorney General

be substituted in for current lead counsel, AAG Matthew Bohuslav as counsel of record. AAG

Corbello is licensed to practice law in the State of Texas and a member in good standing of the

State Bar of Texas:

              COURTNEY CORBELLO
              Assistant Attorney General
              General Litigation Division
              P.O. Box 12548, Capitol Station
              Austin, Texas 78711-2548
              Telephone: (512) 463-2120
              Facsimile: (512) 320-0667
              courtney.corbello@oag.texas.gov

Currently, AAG Bohuslav is the attorney in charge for Movants. The case, however, was

administratively reassigned to AAG Courtney Corbello, and AAG Corbello is now the attorney in

charge. AAG Corbello requests that all future correspondence be sent to her at the address listed



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above. AAG Corbello further advises that Matthew Bohuslav is no longer an attorney to be noticed

in this case and should be removed from the docket. Granting this motion will not prejudice the

Plaintiff or unduly delay any proceeding in this action.

                                              Respectfully Submitted.

                                              KEN PAXTON
                                              Attorney General of Texas

                                              BRENT WEBSTER
                                              First Assistant Attorney General

                                              GRANT DORFMAN
                                              Deputy First Assistant Attorney General

                                              SHAWN COWLES
                                              Deputy Attorney General for Civil Litigation

                                              THOMAS A. ALBRIGHT
                                              Division Chief
                                              General Litigation Division

                                              /s/ Courtney Corbello
                                              COURTNEY CORBELLO
                                              Attorney-in-Charge
                                              Assistant Attorney General
                                              Texas State Bar No. 24097533
                                              courtney.corbello@oag.texas.gov

                                              General Litigation Division
                                              Office of the Attorney General
                                              P.O. Box 12548
                                              Austin, Texas 78711-2548
                                              (512) 463-2080 / Fax (512) 936-2109
                                              ATTORNEYS FOR MOVANTS

                                CERTIFICATE OF SERVICE
    I certify that on February 25, 2022 the foregoing was filed electronically via the Court’s
CM/ECF system, causing electronic service upon all counsel of record

                                                   /s/ Courtney Corbello
                                                   COURTNEY CORBELLO
                                                   Assistant Attorney General

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                                  NOTICE OF ELECTRONIC FILING
       I, COURTNEY CORBELLO, Assistant Attorney General of Texas, certify that I have
electronically submitted for filing, a true and correct copy of the above and foregoing in accordance
with the Electronic Case Files system of the United States District Court for the Eastern District
of Texas, on February 25, 2022.
                                                    /s/ Courtney Corbello
                                                    COURTNEY CORBELLO
                                                    Assistant Attorney General



                                  CERTIFICATE OF CONFERENCE
       I hereby certify that I have conferred with counsel of record regaring the relief requested in
this motion. Counsel has informed me that Plaintiff is unopposed to the substitution of counsel.

                                                   /s/ Courtney Corbello
                                                   COURTNEY CORBELLO
                                                   Assistant Attorney General




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